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                IN THE UNITED STATES DISTRICT COURT

              FOR THE NORTHERN DISTRICT OF GEORGIA

                             ATLANTA DIVISION




  DONNA CURLING, ET AL.,
  Plaintiffs,

  v.
                                                Civil Action No. 1:17-CV-2989-AT
  BRIAN KEMP, ET AL.,
  Defendants.



                DECLARATION OF RICHARD A. DeMILLO

       RICHARD A. DeMILLO (“Declarant”) hereby declares as follows:

       1.    I am a registered voter in Fulton County Georgia. I am deeply

interested in the proper functioning of the Georgia’s voting system, from both a

personal and professional perspective.

       2.    I am currently the Charlotte B. and Roger C. Warren Chair of

Computer Science at Georgia Tech. I have served as Dean of the College of

Computing at Georgia Tech and Director of the Georgia Tech Center for

Information Security. I have also served as the Chief Technology Officer for

Hewlett-Packard, Vice President and General Manager of Computing and

Information Research at Bell Communications Research, Director of the Computer
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and Communications Research Division at the National Science Foundation, and

Director of the Software Test and Evaluation Project for the U.S. Department of

Defense. In all these appointments, my primary technology focus has been

information, communication, and cyber security and computer system testing. I

have taught both graduate and undergraduate courses in cyber security, supervised

graduate students, and conducted peer-reviewed research leading to journal

articles, patents, and invited addresses, all related to the topic of cyber threats to

computer systems.

      3.     A copy of my cv is attached as Exhibit 1.

      4.     I am familiar with Georgia’s Diebold DRE voting system, its design,

the body of academic literature compiled on the system in the last ten years, and its

operation as it is deployed in the polling places in Georgia.

      5.     I own Diebold TSx and TS voting machines purchased over e-Bay

which I have examined and used to conduct certain experiments related to the DRE

system security. Over the past year, I have conferred with many colleagues in the

field of cyber security, including Matthew Bernhard and Logan Lamb who have

sought my technical input for their research into Georgia’s DRE voting system.

      6.     I have observed the operation of the Diebold DRE system in polling

places in multiple Georgia counties over the course of multiple elections and in

county election offices where the system was being programmed and tested. I have
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observed the testing procedures conducted prior to machine deployment to the

polling places.

        7.    I have also observed the Diebold DRE voting machines being hacked

in demonstrations, most recently in a public seminar at Georgia Tech in April

2018.

        8.    I am not a retained expert by any party to this action, but in the desire

to aid the Court in the evaluation of the Defendant’s assertions, I wish to

voluntarily offer my opinion on one topic included in the State Defendant’s

response brief [Doc. 265, page 3]

        9.    In summary, Defendants’ briefs and supporting declarations show a

lack of basic understanding of the nature of current cybersecurity attacks being

used against the nation’s election systems and commercial systems. Defendants do

not appear to understand the most basic realistic threats to the state’s election

system which may have already altered the operation of the system in undetected

ways.

        10.   Defendants ridicule Coalition Plaintiffs, stating, “‘Undetectable

manipulation’ is Plaintiffs’ phrase de jure for the convenient reason that it dodges

any test for corroboration. Evidence of ‘undetectable manipulation’ is

oxymoronic.”
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      11.    Defendants assert that Plaintiffs have concocted the idea of

undetectable manipulation to suit the needs of the present lawsuit. This is a false

assertion. Undetectable manipulation is the most common, widely recognized, and

serious threat facing computer systems, including election systems. Techniques for

undetectable manipulation, methods for counteracting the threats, and the

capabilities that are needed to mount a successful defense to such attacks are

defined by the National Institute of Standards and Technology (NIST) and are

contained in the standard curriculum in virtually every university level course on

cyber security. Furthermore, as the following citations show, the threat is not

speculative or theoretical but rather is the fundamental building block of modern

cyber security and cyber warfighting.

      12.    Undetectable manipulation is a standard behavior of Advanced

Persistent Threats 1 or APT, the threats that the US Intelligence Agencies have

determined with high confidence attacked US election systems in 2016 and

continue to attack the mid-term elections 2. According to NIST, “The advanced

persistent threat: (i) pursues its objectives repeatedly over an extended period of




1
  National Institute of Standards and Technology,
https://csrc.nist.gov/Glossary/?term=2856
2
  https://www.burr.senate.gov/press/releases/senate-intel-committee-releases-
unclassified-1st-installment-in-russia-report-updated-recommendations-on-
election-security
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time; (ii) adapts to defenders’ efforts to resist it; and (iii) is determined to maintain

the level of interaction needed to execute its objectives.” 3 Attacks due to APTs are

mounted by state and nonstate actors and constitute one of the principle attack

vectors for modern cyberwarfare. 4

      13.      There is ample publicly disclosed cause to believe 5 that US election

systems (including Georgia’s) have been subject to APT attacks that yield

undetectable manipulation. APTs use exactly the attacks that have been

documented in classified and unclassified analyses of Russian activities 6 to disrupt

and hack US election systems 7 “A persistent attack will probe networks, scour

social networks for information they can find about the target’s employee and

perform other analysis and reconnaissance. Any organization that does not think

they enough value to motivate a criminal to be persistent should be out of

business.” 8

      14.      One characteristic of attacks mounted by APTs is that they can evade

detection by doing damage before IT managers, antivirus companies, and



3
  National Institute of Standards and Technology
https://csrc.nist.gov/Glossary/?term=2856
4
  Jeffrey Carr, Inside Cyberwarfare, O’Reilly Publishers, 2009. P.119
5
  https://www.justice.gov/file/1080281/download
6
  ibid
7
  https://www.documentcloud.org/documents/3766950-NSA-Report-on-Russia-
Spearphishing.html#document/p1
8
  Ira Winkler APT Security, p. 39
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hardware/software vendors are aware that an attack has taken place: “If a virus can

infect 10 million computers...in the hours before a fix is released, that’s a lot of

damage. What if the code took pains to hide itself, so that a virus wasn’t

discovered for a couple of days? What if [a] worm just targeted an individual, and

deleted itself before off any computer whose userID didn’t match a certain

reference?” 9

      15.       Current textbooks on methods for subverting operating systems,

answer these questions in great detail and should be well-known to election

officials who operate the computer systems that are targeted by APTs: “A back

door in a computer is a secret way to get access….They are very real…To remain

undetected a back-door program must use stealth…Professional attack operations

usually require specific and automated back door programs—programs that do

only one thing and nothing else. This provides assurance of consistent results.” 10

The software that installs these back-door programs and then erases all evidence of

its existence is called a Rootkit.

      16.       There are catalogs of viruses and other programs that install Rootkits.

These catalogs are studied by undergraduate computer science students to prepare



9
  Bruce Schneier, Secrets and Lies: Digital Security in a Networked World,” John
Wiley & Sons, 2000 p. 158
10
   Greg Hoglund and James Butler, “Rootkits: Subverting the Windows Kernel,”
Addison-Wesley, 2006 pp. 2–3
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them to counter APTs in practice. Among these programs are Polymorphic

Viruses: “These are the most difficult to detect. They have the ability to mutate,

which means that they change the viral code known as the signature each time they

spread or infect. Thus, antiviruses that look for specific virus codes are not able to

detect such viruses.” 11

      17.    Standard textbooks 12 list the many forms that a back door might take:

      a.     “Install an altered version of login, telnetd, ftpd, rshd, inetd, or some

other program; the altered program usually accepts a special input sequence 13 and

spawns a shell for the user.

      b.     Plant an entry in the .rhosts, .shosts, or .ssh/authorized_keys file of a

user or the superuser to allow future unauthorized access.

      c.     Change the /etc/fstab file on an NFS system to remove the nosuid

designator, allowing a legitimate user to become root without authorization

through a remote program.




11
   Ankit Fadia, “The Unofficial Guide to Ethical Hacking,” Premier Press, 2002 p.
434
12
   Simson Garfinkel, Gene Spafford, and Alan Schwartz, “Practical Unix &
Internet Security (3rd edition), O’Reily Publishers, 2003
13
   This capability is one of the reasons experts are alarmed by unauditable bar
codes in ballot marking devices. Such codes can embed such special input
sequences.
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        d.    Add an alias to the mail system so that when mail is sent to that alias,

the mailer runs a program of the attacker’s designation, possibly creating an entry

into the system.

        e.    Change the owner of the /etc directory so the attacker can rename and

subvert files such as the /etc/passwd and /etc/group at a later time

        f.    Change the file permissions of /dev/kmem or your disk devices so they

can be modified by someone other than root.

        g.    Change a shared library or loadable module to add a system call

option to allow a change to superuser status when using a seemingly innocuous

program,

        h.    Install a harmless-looking shell file somewhere that set SUID so a

user can use the shell to become root.

        i.    Change or add a network service to provide a root shell to a remote

user.

        j.    Add a back door to the sshd binary so that a specific username and

password is always accepted for login, whether or not the username exists in the

accounts database. Alternatively, the sshd binary might log all accepted usernames

and passwords to a third-party machine.
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       Coupled with all of these changes, the attacker can modify timestamps,

checksums, and audit programs so that the system administrator cannot detect the

alteration!” 14

       18.    Contrary to Defendants’ claims that hackers “usually leave

footprints,” standard undergraduate cybersecurity textbooks describe how it is

usual practice for APT attackers to cover their tracks and therefore not leave

footprints: 15 “After an attack succeeds, most attackers immediately cover their

tracks. Log files are adjusted, hacking tools are hidden, and back doors are

installed, making future re-invasions simple. Rootkit has a number of tools to do

this, and many others are out there. All hackers have tools to hide their presence.

The most common tool is rm, and it is used on syslog, utmp, utmpx files.”

       19.    Every computerized system in the Georgia Election System, including

voter registration databases, employee and recruitment websites, network

connected computers for provisioning systems of the kind located at the Kennesaw

State University Center for Election Systems and which have now been transferred

to the Office of the Secretary of State, Epollbooks used to provision voter cards on

election day, servers used to provision ballot definitions on PCMCIA cards used in



14
  Garfinkel et al p. 738–739
15
  William R. Cheswick, Steven M. Bellovin, and Aviel D. Rubin, “Firewalls and
Internet Security (Second Edition): Repelling the Wily Hacker,” Addison-Wesley
Professional Computing Series, 2003, pp. 126–127
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Diebold voting terminals, the voting terminals themselves, GEMS servers and

related software for tallying election night results, optical scanners used to process

absentee and provisional ballots, and election night reporting systems all contain

operating systems that are susceptible to the attack described above. Contrary to

Defendants’ assertions direct Internet access is not required to mount such

attacks.16

      20. As these citations make clear, undetectable manipulation is a grave

threat to Georgia’s paperless DRE voting system because APTs have plainly

targeted the American election system, including in all likelihood Georgia’s

system. It is well within the capabilities and consistent with usual practice of

those APTs to utilize undetectable manipulation. Given the inability of the State to

determine with any certainty whether the software presently being utilized by

Georgia’s DRE voting system has been maliciously altered at any point in the past,

it will be impossible for Georgians to have any reasonable degree of confidence in

the integrity of the election results produced by Georgia’s DRE voting system.




16
  Public demonstrations conducted by J. Alex Halderman in an open Seminar at
Georgia Tech (April 16, 2018), witnessed by members of the public and legislative
representatives from the Georgia House of Representatives and summarized for
the general public in a New York Times article
(https://www.nytimes.com/2018/04/05/opinion/election-voting-machine-hacking-
russians.html). A written summary version of this experiment is being prepared for
publication in technical journals.
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Pursuant to 28 U.S.C. § 1746, I declare and verify under penalty of perjury that the

foregoing is true and correct.

Executed on this date, August 20, 2018.




                                             RICHARD A. DeMILLO
